                Case 6:16-cv-00484-RP Document 1 Filed 12/29/16 Page 1 of 4



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION

  MIRANDA WILSON                                        §
                                                        §
                    Plaintiff,                          §
                                                        §    CIVIL ACTION NO. 16-484
  VS.                                                   §
                                                        §
  LIBERTY MUTUAL GROUP, INC.                            §
                                                        §
                    Defendants.                         §



        DEFENDANT LIBERTY MUTUAL GROUP INC.’S NOTICE OF REMOVAL


         COMES NOW Defendant Liberty Mutual Group Inc., and files this Notice of Removal,

removing this case to federal court under 28 U.S.C. §§ 1441 and 1446, and in support there of,

would show as follows:

                                            A. Introduction

           1.       Plaintiff is Miranda Wilson. Defendant is Liberty Mutual Group Inc.

           2.       This lawsuit arises out of Plaintiff’s Uninsured/Underinsured Motorist Coverage

(UM/UIM) benefits because of bodily injury resulting from a motor vehicle accident sustained

by Plaintiff and property damage caused by the accident.

           3.       Plaintiff filed this suit in the 146th Judicial District, Bell County, Texas,

claiming Defendant failed or refused to pay UM/UIM benefits to Plaintiff.

           4.       Plaintiff’s pleadings state that she seeks relief in an amount over One Million

Dollars ($1,000,000.00) (Plaintiff’s Original Petition, p. 1.4, Ex B).

           5.       There is diversity of citizenship among the parties and Defendant Liberty

Mutual Group Inc. removes this case pursuant to 28 U.S.C. §§ 1332 and 1446.



{04287389.DOC / }                             Page 1
                Case 6:16-cv-00484-RP Document 1 Filed 12/29/16 Page 2 of 4



                                          B. Basis for Removal

           6.       Removal is proper under 28 U.S.C. §§ 1332 and 1446 because there is complete

diversity of citizenship and the amount in controversy exceeds $75,000 and this removal is

filed within 30 days after the service on Defendant Liberty Mutual Group Inc. of the paper

from which it could first be ascertained that the case is subject to removal.

           7.       There is federal jurisdiction over this case under 28 U.S.C. § 1332 because there

is complete diversity of citizenship and the amount in controversy exceeds $75,000.

                    (a)    Defendant Liberty Mutual Group Inc. is a corporation, organized and

          exiting under the laws of the State of Massachusetts with its principal place of business

          in Boston, Massachusetts. (Exhibits A, A-1, A-2).

                    (b)    Plaintiff alleges that she resides in Bell County, Texas (Pl’s Original

          Petition, ¶2.1, Ex. B).

           8.       Plaintiff’s pleadings state that she seeks relief in an amount of over $1,000,000.

(Plaintiff’s Original Petition, ¶1.4, Ex. B). See S.W.S. Erectors Inc. v. Infax Inc., 72 F.3d 489,

492 (5th Cir. 1996) (removing defendant can rely on plaintiff’s statement of amount in

controversy).

           9.       Defendant Liberty Mutual Group Inc.’s notice of removal is timely, as it is filed

within 30 days of Defendant’s receipt of the pleading stating a removable case. Alim v. KBR,

Inc., No. 13-11094, 2014 U.S. App. LEXIS 10508, at *4 (5th Cir. 2014) (unpub.) (30-day

deadline for removal runs from the defendant’s receipt of a pleading setting forth a removable

claim).

           10.      Copies of all pleadings, process, orders, and other filings in the state-court suit

are attached to this notice as Exhibit B as required by 28 U.S.C. §1446(a).




{04287389.DOC / }                               Page 2
              Case 6:16-cv-00484-RP Document 1 Filed 12/29/16 Page 3 of 4



            11.     Venue is proper in this district under 28 U.S.C. §1441(a) because the state court

where the suit has been pending, the 146th District Court, Bell County, Texas, is located in this

district.

            12.     Defendant Liberty Mutual Group Inc. will promptly file a copy of this notice of

removal with the clerk of the state court where the suit has been pending.

                                            C. Jury Demand

            13.     Plaintiff has not demanded a jury and has not paid the fee in the state-court suit.

                                              D. Conclusion

            14.     There is complete diversity of citizenship and the amount in controversy

exceeds $75,000. Thus, there is diversity jurisdiction over this matter and removal is proper as

set forth herein.



                                                   NAMAN HOWELL SMITH & LEE, PLLC


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                                                          LIBERTY MUTUAL GROUP INC.




{04287389.DOC / }                               Page 3
              Case 6:16-cv-00484-RP Document 1 Filed 12/29/16 Page 4 of 4



                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the forgoing has been served on counsel
of record, on the 29th day of December, 2016 as follows:

         Steven Hooker
         P. O. Box 1153
         Bryan, Texas 77806
         Attorneys for Plaintiff
         Certified Mail, Return Receipt Requested
         No. 7016 2140 0000 7749 8862


                                                    ___/s/ Joe Rivera___________________
                                                      Joe Rivera




{04287389.DOC / }                         Page 4
